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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CNTRST DEBT RECOVERY and                       )
BRUCE TEITELBAUM,                              )       Case No. 21-cv-02702
                                               )
                               Plaintiffs,     )       Honorable Judge Sara E. Ellis
                                               )
                 v.                            )       Hon. Magistrate Judge Maria Valdez
                                               )
RUBEN YBARRA, YRY HOLDINGS,                    )
LLC, and BOULDER HILL                          )
APARTMENTS, LLC,                               )
                                               )
                               Defendants.     )

                         DEFENDANTS’ ANSWER TO COMPLAINT

        NOW COME Defendants, Ruben Ybarra (“Ybarra”), YRY Holdings, LLC (“YRY”) and

Boulder Hill Apartments, LLC (“Boulder Hill”) (collectively, “Defendants”), by their attorneys,

Ariel Weissberg and Rakesh Khanna of the law office of Weissberg and Associates, Ltd, and

Christopher V. Langone of Langone Law LLC, and as Defendants’ Answer to Complaint, state as

follows:

                                    NATURE OF THE CASE

        1.       Ybarra is an individual with a long history of using straw companies to

fraudulently obtain loans from Centrust Bank (“Centrust”), to disguise his ownership interest in

such companies as part of a scheme to avoid paying his debts, to harass and threaten Plaintiffs

and other with baseless litigation, and to defraud at least one court.

ANSWER:          Defendants deny the allegations contained in this paragraph.

        2.       Plaintiffs commenced this case to (a) protect themselves from further harassment

by Defendants and (b) recover damages from Defendants for their past litigation abuses directed

to Plaintiffs.

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ANSWER:        Defendants deny the allegations contained in this paragraph.

       3.      From 2006 to 2008, Ybarra was employed by Centrust Bank as a Vice President

and loan officer. During his tenure, Ybarra repeatedly used straw entities to conceal his

ownership and control over Centrust borrowers. Ybarra even acted as Centrust’s loan officer for

such loans without revealing his control over the borrowers. In addition, Ybarra received bribes,

made undisclosed personal loans to Centrust’s borrowers, and released Centrust’s collateral

without the bank’s knowledge or consent.

ANSWER:        Defendants admit that Ybarra was employed by Centrust and entered a

consent decree relating to alleged misconduct related to loans, but Defendants deny the

balance of the allegations in this paragraph.

       4. Eventually, the Office of the Comptroller of Currency (the “OCC”) discovered

Ybarra’s illegal activities and commenced enforcement proceedings against him pursuant to 12

U.S.C. § 1818. To avoid prosecution by the OCC, Ybarra agreed to a consent order that barred

him from the banking industry and required him to make restitution to Centrust.

ANSWER:        Defendants admit that the OCC commenced enforcement proceedings,

Ybarra agreed to a consent order, and judgments were entered against him but

Defendants deny the balance of the allegations in this paragraph.

       5.      Predictably, Ybarra and his companies also defaulted on the loans Centrust made

to them. In 2010, Centrust sued Ybarra to collect the debts. In that litigation, Centrust was

awarded judgments totaling more than $2.6 million. Ybarra has never satisfied the judgments.

ANSWER: Defendants admit that the OCC commenced enforcement proceedings, Ybarra

agreed to a consent order, and judgments were entered against him but Defendants deny

the balance of the allegations in this paragraph.



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       6.      Instead, shortly after Centrust’s judgments were entered against him, Ybarra

implemented an asset protection plan designed to shield his assets from Centrust and potentially

other creditors. Pursuant to his asset protection plan, Ybarra used straw companies to retain de

facto ownership and control over a wide range of assets, including apartments located in

Montgomery, Illinois. With respect to the Montgomery apartments, Plaintiffs believe that:

               i)      BHA was organized on May 20, 2015, and in exchange for $100, it

                       received its interest in the Montgomery apartments;

               ii)     BHA is 100% owned and controlled by YRY;

               iii)    Ybarra manages YRY;

               iv)     Ybarra’s wife and kids or their trusts are the nominal owners of YRY;

               v)      Ybarra exercises many of the indicia of ownership for YRY and

                       derives benefits from such entities by, on information and belief, using

                       the funds of YRY to pay the attorneys that represent him;

               vi)     In supplemental proceedings, the attorney for YRY and BHA has acted

                       as if they represent Ybarra, instead of YRY and BHA;

               vii)    Ybarra represented in a 2018 wire transfer authorization form that he

                       was the “Owner” of YRY;

               viii)   Ybarra, as the manager of YRY, entered into a loan with T2 Boulder

                       Hill Montgomery, LLC for approximately $9 million and he

                       guaranteed the loan, although his wife denied that fact under oath;

               ix)     Ybarra is the president and secretary of the Boulder Hills

                       Condominium Association; and

               x)      Ybarra has a direct or indirect interest in the profits, losses, or cash

                       flow of YRY and has asserted that he has no income himself.

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ANSWER:        Defendants deny the allegations contained in this paragraph

       8.      Based on this information or similar information, and based upon Ybarra’s well

established strategy of using others to shield his ownership interests in assets, Plaintiffs

reasonably concluded that the equity in YRY and BHA could be accessed to recover the amount

that Ybarra owed to Centrust.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

the allegations in this paragraph.

       9.      As a result, Plaintiffs assisted Centrust in its efforts to collect its judgment from

the Montgomery apartments pursuant to post-judgment proceedings before the state court.

Plaintiffs believed the post-judgment proceedings would have been successful if they had been

completed, but Centrust never completed the proceedings. Before Centrust could complete the

post-judgment proceedings. Centrust sold its judgments against Ybarra to ABS Lincolnwood,

LLC (“ABS”). Shortly thereafter, ABS sold the judgments to PTCV Development, LLC

(“PTCV”).

ANSWER:        Defendants admit attachment proceedings were initiated, but deny

Plaintiff’s speculation about whether they “would have been successful,” or what Centrust

otherwise believes. Defendants admit Centrust sold its judgments against Ybarra to ABS

Lincolnwood, LLC (“ABS”). Shortly thereafter, ABS sold the judgments to PTCV

Development, LLC (“PTCV”) and PTCV eventually withdrew the attachment

proceedings.

       10.     Plaintiffs believe PTCV is another of Ybarra’s straw companies. Once PTCV

acquired the judgments against Ybarra, those judgments were no longer held by an adverse

entity or a creditor seeking to recover from Ybarra. Instead, those judgments were held by a

friendly creditor with no intention of pursuing collection from Ybarra. Rather than deeming the

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judgments satisfied, however, Defendants opted to use the judgments offensively. They

pretended in a state court proceeding that PTCV was a third party whose sole interest was to

collect on the judgments against Ybarra.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

who Centrust notified, or why, or the amount of any fees incurred, and on that basis

denies same. Defendants deny the remaining allegations contained in this paragraph.

        11.    Defendants thus positioned PTCV as the putative judgment creditor that was

pursuing Ybarra in state court to collect judgment of more than $5 million. They did this for no

legitimate purpose. Instead, Defendants opted to use the judgments to launch an offensive action

against Plaintiffs and other (a) to prolong the state court proceedings and increase the burden

upon Plaintiffs and Centrust; (b) so that the state court would be fooled into believing (which it

was) that YRY and BHA needed extensive discovery from Plaintiffs, Centrust and others to

protect YRY and BHA from PTCV’s judgment collection efforts, and (c) to engineer a

resolution of the state-court proceedings that would bolster Defendants anticipated malicious-

prosecution suit. This was all a ruse, however, because parties that Defendants controlled owned

PTCV.

ANSWER:        Defendants deny the allegations contained in this paragraph.

        12.    PTCV thus had no intention of ever collecting from Ybarra or YRY or BHA.

In the end, Defendants’ fraud upon the state court was partially successful. They did manage to

prolong the state-court proceedings long enough to issue several abusive discovery requests to

Plaintiffs and others, but the bizarre, non-adversarial conduct of Ybarra’s straw companies

eventually aroused the state court’s suspicions. The state court authorized Plaintiffs to

investigate the collusion between PTCV, Defendants and others. The prospect of an

investigation promptly ended the scheme to defraud the state court and to abuse the state court

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proceedings. To avoid being unmasked, Defendants caused the attachment proceedings to end

and retreated from the state court.

ANSWER:        Defendants deny the allegations contained in this paragraph.

       13.     In this case, the Plaintiffs are seeking to end Defendants’ abuse of legal

proceedings once and for all. Plaintiffs are seeking a declaration that Defendants do not have

any legitimate claim against Plaintiffs for malicious prosecution or abuse of process. Plaintiffs

are also seeking to recover damages from Defendants for Defendants abuse of process in

connection with the state-court proceedings.

ANSWER:        Defendants deny the allegations contained in this paragraph.

                                               Parties

       14.     CDR is an Illinois corporation. Its office is located in Northbrook, Illinois.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       15.     Teitelbaum is a resident of Highland Park, Illinois and is a citizen of Illinois.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       16.     Ybarra is an individual that, upon information and belief, is domiciled in Texas

and is a citizen of Texas. Upon information and belief, Ybarra intends to remain in Texas.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       17.     YRY is a Delaware limited liability company. Upon information and belief,

YRY’s members are all citizens of Texas either because they are individuals that reside in Texas

with the intent to remain, or because they are trusts with trustees that reside in Texas with the

intent to remain.

ANSWER:        Admit that YRY is a Delaware limited liability company; deny the balance

of the allegations.

       18.     BHA is an Illinois limited liability company with only one member: YRY.

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ANSWER:         Defendants admit the allegations contained in this paragraph.

                                           Jurisdiction

        19.     The Court has diversity jurisdiction over this action under 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000, exclusive of interest and costs, and the

controversy is between citizens of different states.

ANSWER:         Defendants deny the allegations contained in this paragraph.

        20.     This Court has personal jurisdiction over Defendants because they have each

regularly conducted business in Illinois, they have each owned property in Illinois (either

directly or indirectly), and they were each involved in the transactions and events described

below (which occurred in Illinois).

ANSWER:         Defendants admit the allegations contained in this paragraph.

                                       Factual Background

        B.      Ybarra’s Misconduct as a Centrust Loan Officer

        21.     From 2006 to 2008, Ybarra was employed as a loan officer and Vice President by

Centrust.

ANSWER:         Defendants admit the allegations contained in this paragraph.

        22.     In his capacity as a loan officer, Ybarra was required to evaluate, authorize,

and/or recommend the approval of loans that would be in Centrust’s best interests to make.

ANSWER:         Defendants admit the allegations contained in this paragraph.

        23.     As a loan officer, Ybarra was also responsible for monitoring a portfolio of

existing Centrust loans for the purpose of making, authorizing, and/or recommending any

necessary actions or adjustments by the bank, such as loan extensions, modifications, or

collection activities.

ANSWER:         Defendants admit the allegations contained in this paragraph.

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        24.     As a loan officer, Ybarra was prohibited from receiving any undisclosed personal

benefits from Centrust customers, such as bribes or kickbacks. He was also prohibited from

having any undisclosed personal business dealings with Centrust customers.

ANSWER:         Defendants admit the allegations contained in this paragraph.

        25.     As a loan officer, Ybarra was required to disclose any material ownership interest

he held in Centrust’s customers or prospective customers.

ANSWER:         Defendants admit the allegations contained in this paragraph.

        26.     As a loan officer, Ybarra was required to place Centrust’s interests ahead of his

own when dealing with Centrust’s customers. He was undoubtedly prohibited from releasing

Centrust’s collateral without its knowledge or consent.

ANSWER:         Defendants admit the allegations contained in this paragraph.

        27.     Ybarra did not faithfully discharge his duties as a Centrust loan officer.

According to the OCC, Ybarra engaged in a pattern and practice of misconduct during his

tenure at Centrust which included personal dishonesty, breaches of fiduciary duties, unjust

enrichment, and flagrant disregard for banking laws. Ybarra’s misconduct caused Centrust to

suffer substantial losses.

ANSWER:         Defendants deny the allegations contained in this paragraph.

        28.     In 2012, the OCC initiated an enforcement proceeding against Ybarra based on

his fraudulent activities (the “OCC Case”). The OCC Case culminated in the entry of a consent

order against Ybarra (the “Consent Order”) on January 22, 2013 which barred him from any

future involvement with an insured depository institution and required him to reimburse

Centrust for some of its losses. A true and correct copy of the Consent Order is attached hereto

as Exhibit A.

ANSWER:         Defendants admit the allegations contained in this paragraph.

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       29.   According to the Consent Order, Ybarra’s misconduct as a Centrust loan officer

included:

             i)      Employing a straw borrower to conceal from Centrust that he owned a

                     controlling interest in an entity that received a $1.4 million loan from

                     the bank;

             ii)     Purchasing an undisclosed controlling interest in a company that had

                     received several loans from Centrust and acting as the loan officer for

                     the company both before and after his acquisition of the undisclosed

                     controlling interest;

             iii)    Purchasing an undisclosed controlling interest in a Centrust borrower

                     and thereafter acting as the bank’s loan officer with respect to several

                     additional loans the bank made to the borrower;

             iv)     Receiving a bribe from a Centrust borrower in exchange for inducing

                     the bank to make an uncollectable loan to the borrower;

             v)      Receiving a bribe from a property seller in exchange for inducing

                     Centrust to finance the purchase of the seller’s property with an

                     uncollectable loan;

             vi)     Making several undisclosed high-interest, short-term loans to a

                     Centrust borrower with his own personal funds;

             vii)    Purchasing an undisclosed controlling interest in a company that had

                     received several loans from Centrust and acting as the loan officer for

                     the company both before and after his acquisition of the undisclosed

                     controlling interest;

             viii)   Purchasing an undisclosed controlling interest in a Centrust borrower

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                         and thereafter acting as the bank’s loan officer with respect to several

                         additional loans the bank made to the borrower;

               ix)       Recording a personal mortgage against a property that was already

                         security for a Centrust loan; and

               x)        Releasing Centrust’s mortgage in a property without its knowledge or

                         consent.

ANSWER:        The Consent Order speaks for itself, and thus no response is required.

       B.      CENTRUST’S JUDGMENTS AGAINST YBARRA

       30.     During his tenure at Centrust, Ybarra also obtained loans (collectively, the

“Loans”) totaling more than $2.5 million from the bank for entities that he owned and

controlled, including:

               i)     Loan 427. Loan number *****427 (“Loan 427”) was made to Fox

                      Valley II, a Series of Develco Investments, L.L.C., an Illinois limited

                      liability company (“Fox Valley II”). The loan was memorialized by a

                      promissory note dated August 31, 2009 for the principal amount of

                      $659,652.63. Ybarra personally guaranteed the loan. Ybarra was the

                      sole member and manager of Fox Valley II.

               ii)    Loan 763. Loan number *****763 (“Loan 763”) was made to

                      Higgins-G&W, a Series of Develco Investments, L.L.C., an Illinois

                      limited liability company (“Higgins-G&W”). The loan was

                      memorialized by a promissory note dated October 25, 2007 for the

                      principal amount of $380,000. Ybarra personally guaranteed the loan.

                      Ybarra was the sole member and manager of Higgins-G&W.

               iii)   Loan 766. Loan number *****766 (“Loan 766”) was made to

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                     Higgins-AW, a Series of Develco Investments, L.L.C., an Illinois

                     limited liability company (“Higgins-AW”). The loan was

                     memorialized by a promissory note dated October 25, 2007 for the

                     principal amount of $1,130,000. Ybarra personally guaranteed the

                     loan. Ybarra was the sole member and manager of Higgins-AW.

               iv)   Loan 769. Loan number *****769 (“Loan 769”) was made to

                     Higgins-NP, a Series of Develco Investments, L.L.C., an Illinois

                     limited liability company (“Higgins-NP”). The loan was

                     memorialized by a promissory note dated October 25, 2007 for the

                     principal amount of $152,000. Ybarra personally guaranteed the loan.

                     Ybarra was the sole member and manager of Higgins-NP.

               v)    Loan 826. Loan number *****826 (“Loan 826”) was made to Fox

                     Valley II. The loan was memorialized by a promissory note dated

                     August 31, 2009 for the principal amount of $199,998.97. Ybarra

                     personally guaranteed the loan. Ybarra was the sole member and

                     manager of Fox Valley II.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       31.     Ybarra and his companies eventually defaulted on the Loans. As a result,

Centrust initiated several lawsuits (collectively, the “Collection Lawsuits”) against Ybarra in the

Circuit Court of Cook County, Illinois (the “Circuit Court”). In the Collection Lawsuits, the

Circuit Court entered judgements in favor of Centrust against Ybarra for more than $2.6 million

(collectively, the “Judgments”) as follows:

               i)    Case No. 50077. In Circuit Court case number 10-L-50077 (“Case

                     Number 50077”), Centrust obtained a money judgment concerning

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                       Loan 766 against Ybarra on January 28, 2010 for $1,142,414.88, plus

                       costs.

                ii)    Case No. 50078. In Circuit Court case number 10-L-50078 (“Case

                       Number 50078”), Centrust obtained a money judgment concerning

                       Loan 763 against Ybarra on January 28, 2010 for $384,565.22, plus

                       costs.

                iii)   Case No. 50079. In Circuit Court case number 10-L-50079 (“Case

                       Number 50079”), Centrust obtained a money judgment concerning

                       Loan 769 against Ybarra on January 28, 2010 for $154,275.77, plus

                       costs.

                iv)    Case No. 50286. In Circuit Court case number 10-L-50287 (“Case

                       Number 50287”), Centrust obtained a money judgment concerning

                       Loan 427 against Ybarra on February 26, 2010 for $710,583.95, plus

                       costs.

                v)     Case No. 50287. In Circuit Court case number 10-L-50287 (“Case

                       Number 50287”), Centrust obtained a money judgment concerning

                       Loan 826 against Ybarra on February 26, 2010 for $216,135.04, plus

                       costs.

ANSWER:         Defendants admit the allegations contained in this paragraph.

       C.       Centrust’s Agreement with CDR.

       32.      In February 2012, Commercial Bancshares Corp. acquired a controlling interest

in Centrust’s parent company. In connection with the acquisition, Centrust’s management team

also changed.

ANSWER:         Defendants lack knowledge or information sufficient to form a belief as to

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who as retained by Centrust and when, and on that basis, Defendants deny the allegations

in this paragraph.

       33.     After Centrust’s new management team assumed control of the bank, they

discovered the Judgements remained unsatisfied and began making efforts to collect them.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

who what was known or unknown to Centrust and when, and on that basis denies the

allegation.

       34.     Nevertheless, despite its best efforts, Centrust was unable to collect the

Judgements. By the summer of 2015, the amount Ybarra owed to Centrust based on the

Judgments had increased to more than $3.3 million.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

the allegations in this paragraph.

       35.     Given Ybarra’s prior history of employing straw entities and concealing his

assets, Centrust reasonably suspected Ybarra might be employing similar tactics to protect his

assets from Centrust. However, Centrust was unable to figure out exactly where Ybarra may

have hidden his assets.

ANSWER:        Defendants deny the allegations contained in this paragraph.

       36.     Centrust had all but given up trying to locate Ybarra’s assets when Bruce

contacted them in 2015 and informed Centrust that Ybarra (a) was his former business associate

and (b) was concealing his assets from his creditors. Bruce also indicated he was willing to

retain an attorney to represent Centrust in collection proceedings against Ybarra if Centrust

would agree to share the recovery with him.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

who if and when Teitelbaum met with Centrust or what was discussed, and on that basis,

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Defendants deny the allegations in this paragraph.

        37.    Eventually, on or about August 18, 2015, Centrust and CDR entered into an

Agreement of Creditors (the “Agreement”) that gave CDR the authority to collect the Judgments

on behalf of Centrust. A true and correct copy of the Agreement is attached hereto as Exhibit B.

ANSWER:        Defendants admit the allegations contained in this paragraph.

        38.    Under the terms of the Agreement, CDR promised to openly share with Centrust

whatever information CDR possessed or acquired regarding the location of Ybarra’s assets.

CDR also agreed to retain and pay for lead counsel to jointly represent Centrust and CDR in all

post judgment collection actions.

ANSWER:        Defendants do not dispute the terms are set forth in the agreement.

        39.    In exchange for CDR’s engagement of joint counsel for the parties, as well as

CDR’s agreement to openly share information with Centrust regarding Ybarra’s assets, Centrust

granted CDR the right to receive 70% of any amount recovered with respect to the Judgments.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

the allegations in this paragraph.

D.      Ybarra’s Asset Protection Plan

        40.    In or about 2011, Ybarra created an elaborate asset protection plan designed to

conceal and shield his assets from creditors.

ANSWER:        Defendants deny the allegations contained in this paragraph.

        41.    In connection with his plan, Ybarra created YRY to act as a holding company for

many (probably most) of his assets. YRY operated as a central vehicle in Ybarra’s asset

protection scheme. It was apparently designed to own and control most (perhaps all) of Ybarra’s

business ventures and investments.

ANSWER:        Defendants deny the allegations contained in this paragraph.

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       42.     Ybarra made himself manager of YRY, thereby vesting himself with complete

control over the management of YRY’s affairs. Ybarra also gave himself and his wife 100%

beneficial ownership of YRY. Thus, YRY was 100% owned (directly or indirectly) and

controlled by Ybarra.

ANSWER:        Defendants admit Ybarra was manager, Defendants deny the allegations in

this paragraph

       43.     Ybarra also briefly owned 2.5% of YRY—taking an assignment of the interest

from his wife before quickly turning around and assigning his 2.5% interest to an insurance trust

created as part of his asset protection scheme.

ANSWER:        Defendants deny the allegations contained in this paragraph.

       44.     To further shield his assets, Ybarra also created several subsidiary entities that

were owned and controlled by him (indirectly through YRY).

ANSWER:        Defendants deny the allegations contained in this paragraph.

       E.      BHA and the Boulder Hill Apartments

       45.     BHA is one of YRY’s subsidiaries that Ybarra created to shield his assets from

his creditors. BHA is the record owner of most of the units in an apartment complex located in

Montgomery, Illinois commonly known as the Boulder Hill Apartments (the “Apartments”).

Through YRY and BHA, Ybarra indirectly owns and controls the Apartments. On information

and belief, Ybarra also is attempting to gain control of the remaining units in the complex

through his role as president of the Boulder Hill Condominium Association.

ANSWER:        Defendants admit that “BHA is one of YRY’s subsidiaries,” and “BHA is the

record owner of several units in an apartment complex located in Montgomery, Illinois

commonly known as the Boulder Hill Apartments,” Defendants deny the allegations in this

paragraph.

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        46.    YRY is the sole manager of BHA, thereby vesting Ybarra with complete de facto

control over the management of BHA’s affairs. YRY is also the sole member of BHA, which

means Ybarra and his wife beneficially own 100% of BHA.

ANSWER:        Defendants admit that “YRY is the sole manager of BHA” and “YRY is

also the sole member of BHA.” Defendants deny the remaining allegations in this

paragraph.

        47.    Bruce also owned (directly or indirectly) some membership interest in BHA. He

transferred that to YRY prior to entering into the Agreement with Centrust. Bruce’s former

affiliation with BHA afforded him insight regarding how Ybarra uses BHA and YRY to conceal

his assets.

ANSWER:        Defendants admit that. Teitelbaum also owned (directly or indirectly) some

membership interest in BHA which he transferred to YRY prior to entering into the

Agreement with Centrust but lack knowledge or information sufficient to form a

belief as to the remaining allegations, and on that basis deny same.

        F.     Post-Judgment Pursuit of the Apartments

        48.    Following Centrust’s execution of the Agreement, CDR engaged the firm of

Kluever and Platt (“K.P.”) and then Markoff Law, L.L.C. (“Markoff”) to collect the Judgments

and generally pursue collection activities against Ybarra. In connection with its engagement,

K.W. and Markoff took a variety of steps to discover Ybarra’s assets and collect the Judgments.

ANSWER:        Defendants admit that Markoff took a variety of steps to discover Ybarra’s

assets and collect the Judgments yet deny the Defendants deny the remaining allegations in

this paragraph.

        49.    Among other things, counsel instituted post-judgment proceedings against

Ybarra in the Collection Lawsuits by serving citations to discover assets upon Ybarra and

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others. Eventually, Markoff was able to confirm that Ybarra is the beneficial owner of the

Apartments through YRY and BHA.

ANSWER:        Admit Markoff initiated post judgment proceedings against Ybarra in the

Collection Lawsuits by serving citations to discover assets upon Ybarra and others, deny

what Markoff was (or was not) able to confirm.

       50.     For example, Markoff discovered YRY filed a tax return in which it indicated

Ybarra owns, directly or indirectly, an interest of 100% in YRY’s profits, losses, or capital. A

true and correct copy of the tax return Markoff discovered is attached hereto as Exhibit C.

ANSWER:        Defendants admit Exhibit C is an excerpt from a tax return filed by YRY,

Defendants deny the characterizations and legal conclusions in this paragraph and lacks

knowledge or information sufficient to form a belief as to what Markoff discovered, and

on that basis denies same.

       51.     Markoff also discovered BHA’s Operating Agreement, which indicates YRY is

BHA’s sole member and manager. A true and correct copy of BHA’s Operating Agreement is

attached hereto as Exhibit D.

ANSWER:        Defendants admit Exhibit D is a genuine copy of BHA’s Operating

Agreement. Defendants deny the characterizations and legal conclusions in this

paragraph.

       52.     Markoff also discovered BHA received a quitclaim deed (the “Deed”) for most

of the Apartments from an Illinois limited liability company named Boulder Hill

Condominiums, L.L.C. (“BHC”) in or about 2018. A true and correct copy of the Deed is

attached hereto as Exhibit E. According to the Deed, BHC’s manager was YRY, YRY’s

manager was Ybarra, and BHC received less than $100 from BHA in exchange for the Deed.



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ANSWER:        Defendants admit Exhibit E is a genuine copy of the Deed. Defendants deny

the characterizations and legal conclusions in this paragraph.

       53.     In discovery, Markoff was also able to obtain a copy of BHC’s Operating

Agreement. Predictably, BHC’s Operating Agreement indicated that YRY was BHC’s sole

member and manager. A true and correct copy of BHC’s Operating Agreement is attached

hereto as Exhibit F.

ANSWER:        Defendants admit Exhibit F is a genuine copy of the Deed. Defendants deny

the characterizations and legal conclusions in this paragraph.

       54.     Based on the information Markoff was able to develop through discovery, as well

as Ybarra’s history of employing straw companies to conceal his assets, Markoff reasonably

concluded Ybarra was using YRY and BHA as his alter egos or instrumentalities to unjustly

shield the Apartments from his creditors. Markoff also reasonably believed it could develop

facts establishing the Apartments were transferred to BHA to hinder, delay, or defraud Ybarra’s

creditors. As a result, Markoff ultimately recommended to Centrust that it institute proceedings

in the Collection Lawsuits to attach the Apartments.

ANSWER:        Defendants lack knowledge or information sufficient to form a belief as to

the allegations in this paragraph.

       55.     Centrust accepted Markoff’s recommendation. As a result, Centrust authorized

Markoff to file a Motion for Judicial Determination and Other Relief Pursuant to 735 ILCS 5/2-

1401 (the “Motion for Judicial Determination”) on its behalf in Case 50077. A true and correct

coy of the Motion for Judicial Determination – which was filed on May 30, 2019 – is attached

hereto as Exhibit G. In the Motion for Judicial Determination, Centrust sought to attach the

Apartments and have them sold to satisfy its judgments.

ANSWER:        Admit a Motion for Judicial Determination was filed, a genuine copy of

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which is attached as Exhibit G, Defendants lack information to form a belief as to what, if

anything, this was a “result” of.

       56.     In December of 2019, YRY and BHA filed adverse claims with respect to the

Motion for Judicial Determination. They asserted that their rights are superior to any rights that

Centrust or Plaintiffs can claim in BHA, YRY and the Boulder Hill Apartments.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       57.     As adverse claimants, YRY and BHA sought and were granted the right to an

evidentiary hearing and to conduct extensive discovery regarding the claim that the equity in

YRY and/or BHA could be attached by Centrust to satisfy the judgments Ybarra owed to

Centrust.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       58.     The parties never completed discovery regarding the Motion for Judicial

Determination, nor did the Circuit Court ever conduct a final evidentiary hearing regarding the

motion, or rule on the motion.

ANSWER:        Defendants admit the allegations contained in this paragraph.

       59.     Before any of that could happen, Centrust assigned the Judgments to ABS. ABS.

was then approached by an entity controlled by Defendants known as PTCV and then assigned

the Judgments to PTCV. PTCV then substituted into the Collection Actions as the judgment

creditor and was granted the right to conduct discovery in support of the Motion for Judicial

Determination. As Plaintiffs allege below, PTCV eventually withdrew the Motion for Judicial

Determination rather than have its involvement in a fraudulent scheme exposed.

ANSWER:        Defendants admit the allegations contained in this paragraph.




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       G.      Ybarra’s Continued Use of Straw Entities

       60.     Although the parties never completed discovery regarding the Motion for

Judicial determination, further evidence did emerge in the Collection Actions of Ybarra’s use of

straw entities to conceal his assets and implement his hidden agendas.

ANSWER:        Defendants deny the allegations contained in this paragraph.

       61.     Specifically, it appears one or more of the Defendants were involved in

establishing PTCV to acquire the Judgements from ABS. One or more of the Defendants then

had PTCV, YRY, and BHA pose in the Collection Actions as adverse parties to keep the post

judgment proceedings in Case 50077 alive, not for the purpose of satisfying the Judgments, but

rather for the surreptitious purpose of conducting discovery regarding a potential malicious

prosecution or abuse of process suit Defendants planned to bring against Centrust for having

attempted to attach the equity in the Apartments to satisfy the Judgements. Counsel for YRY

and BHA made their true purpose clear by sending to Centrust a letter threatening such litigation

against Plaintiffs, Centrust, Markoff Law and KP.

ANSWER:        Defendants deny the allegations contained in this paragraph.

       62.     In connection with this scheme, upon information and belief, Ybarra had YRY

and BHA issue burdensome discovery requests to Centrust, CDR, Bruce, KP, and Markoff that

primarily focused on their past efforts to collect the Judgments, rather than the merits of the

pending Motion for Judicial Determination. Meanwhile, Ybarra had PTCV keep the Motion for

Judicial Determination alive for the sole purpose of giving the Circuit Court the false impression

that there was a pending adverse claim among YRY, BHA, and PTCV regarding the Apartments

that would require adjudication.

ANSWER:        Defendants deny the allegations contained in this paragraph.



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       63.     Eventually, the Circuit Court grew suspicious that Ybarra, YRY, BHA, and

PTCV were colluding and might not truly be adverse parties. This happened when Plaintiffs

pointed out in the context of their motion for discovery sanctions and their motion to quash the

discovery served upon them that:

               i)     PTCV never took any concrete steps to prosecute the Motion for

                      Judicial Determination;

               ii)    PTCV never conducted any discovery to support the pending Motion

                      for Judicial Determination or defend against the adverse claims of

                      YRY and BHA concerning the Apartments;

               iii)   PTCV relied on the discovery of YRY and BHA, which were

                      supposedly PTCV’s adversaries;

               iv)    PTCV exhibited tremendous passivity, if not indifference, towards

                      YRY, BHA, and the outcome of proceedings concerning the Motion

                      for Judicial Determination;

               v)     Ybarra’s former counsel appeared to have some continuing, behindthe-

                      scenes role in orchestrating the litigation strategies of YRY, BHA,

                      and PTCV;

               vi)    PTCV’s lead attorney in Case 50077 had a long-time, close working

                      relationship with Ybarra’s former counsel;

               vii) PTCV’s principal office is located at the law firm that represented

                      PTCV in Case 50077;

               viii) The individuals behind the ownership and management of PTCV

                      could not be determined from its filings with the Illinois Secretary of

                      State.

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               ix)   PTCV was formed in the fall of 2020 by the law firm that represented

                     it in Case 50077;

               x)    CDR and Teitelbaum tried to determine who owned PTCV from ABS.,

                     but ABS. refused to disclose that information;

               xi)   One of PTCV’s attorneys never appeared in Case 50077 after CDR

                     and Teitelbaum filed a motion for sanction against her; and

               xii) Ybarra, PTCV, YRY, and BHA never denied they have a friendly

                     relationship.

ANSWER:        Defendants deny the allegations contained in this paragraph.

       64.     Due to its suspicions, the Circuit Court entered an order on May 3, 2021 granting

Centrust, CDR, Teitelbaum, and Markoff leave to conduct discovery in connection with the

motion for sanctions to ferret out the potential collusion among Ybarra, PTCV, YRY, and BHA

that Plaintiffs had identified. A true and correct copy of the Circuit Court’s May 3, 2021 order is

attached hereto as Exhibit H.

ANSWER:        Admit that Exhibit H is a genuine copy of the Court’s order dated May 3,

2021, Defendants deny the characterizations and legal conclusions in this paragraph.

       65.     Almost immediately after the Circuit Court entered its May 3, 2021 order

authorizing discovery into the relationship between PTCV and Defendants, these entities

submitted a joint proposed agreed order to the Circuit Court that would withdraw the Motion for

Judicial Determination and withdraw the adverse claims of YRY and BHA. On information and

belief, Defendants submitted the joint order to effectively terminate the Collection Actions

because they did not want to have their fraud upon the Circuit Court exposed by Plaintiffs,

Centrust and Markoff.

ANSWER:        Defendants deny the allegations contained in this paragraph.

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        H.         YRY and BHA’s Threats Against Plaintiffs

        66.        YRY and BHA have also repeatedly threatened Plaintiffs with legal action.

ANSWER:            Defendants deny the allegations contained in this paragraph.

        67.        According to YRY and BHA, they intend to sue Plaintiffs for “abusive” and

“frivolous” prosecution of the Motion for Judicial Determination and certain related matters. A

true and correct copy of a notice of claim (the “Notice of Claim”) that YRY and BHA’s

attorneys sent to Centrust regarding their alleged claims is attached hereto as Exhibit I.

ANSWER:            Defendants deny that Exhibit I is genuine and was delivered to Centrust

through an attorney.

        68.        YRY and BHA served the Notice of Claim more than seven months ago. In the

Notice of Claim, YRY and BHA expressly demanded that Centrust notify its insurers of their

claims and they expressly stated that claims would be filed against Plaintiffs. YRY and BHA

have repeated their threats of litigation, but they have never actually filed a lawsuit.

ANSWER:            Defendants admit that YRY and BHA served the Notice of Claim on

Centrust more than seven months ago, and in the Notice of Claim, YRY and BHA

expressly demanded that Centrust notify its insurers of their claims. Defendants deny that

“threats” were repeated on “numerous occasions.” Admit no lawsuit has been filed.

        69.        Ybarra is the party responsible for causing YRY and BHA to threaten Plaintiffs

with litigation.

ANSWER:            Defendants deny the allegations contained in this paragraph.

        70.        YRY and BHA also have conceded in pleadings they intend to pursue claims

against Plaintiffs. Plaintiffs objected to a broad subpoena YRY and BHA served upon Plaintiffs

ostensibly in connection with the Motion for Judicial Determination by pointing out that PTCV

had no intention of ever pursuing the Motion for Judicial Determination and that the subject

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discovery was solely in aid of the litigation that Defendants intended to bring once they had

completed their discovery. Rather than denying this was their ulterior motive, YRY and BHA

tried to have their cake and eat it too. They apprised the Circuit Court that CDR’s “binary

distinction between evidence for … defending against the motion to forcibly sell the Boulder

Hill Apartments on the one hand, and on the other hand, evidence to support a claim for

Adverse Claimants’ damages—is too simplistic.”

ANSWER:

                Count I – Declaratory Judgment (No Malicious Prosecution)

       71.     Plaintiffs incorporate by reference Paragraphs 1 through 70 of their Complaint.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       72.     As alleged above, there is a substantial controversy between Plaintiffs and

Defendants regarding the issue of whether Plaintiffs maliciously prosecuted claims in the

Circuit Court concerning the Apartments. Defendants assert Plaintiffs maliciously prosecuted

the Motion for Judicial Determination and certain related matters in the Circuit Court, whereas

Plaintiffs deny they maliciously prosecuted the Motion for Judicial Determination or any other

matter in the Circuit Court.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       73.     As alleged above, the parties have adverse legal interests in the resolution of the

controversy between them. Defendants are seeking to recover damages from Plaintiffs, whereas

Plaintiffs are seeking to avoid paying any damages to Defendants.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

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       74.     As alleged above, the controversy between Plaintiffs and Defendants is

sufficiently real and immediate to warrant the issuance of a declaratory judgment by this Court.

Defendants have served the Notice of Claim and repeatedly indicated they would be filing a

lawsuit against Plaintiffs.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       75.     Under the Declaratory Judgment Act, this Court may resolve the controversy

between Plaintiffs and Defendants by declaring their rights and other legal relations with respect

to Defendants’ allegations of malicious prosecution.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       76.     In this regard, Plaintiffs respectfully submits that they did not maliciously

prosecute any claims against Defendants in the Collection Lawsuits.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       77.     As alleged above, Plaintiffs did not commence or continue any cause of action

against Defendants in the Collection Lawsuits that was terminated in Defendants’ favor.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       78.     Nor did Plaintiffs commence or continue any cause of action against Defendants

in the Collection Lawsuits with malice or without probable cause.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       79.     Instead, Plaintiffs merely attempted to attach the Apartments because they

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reasonably suspected Ybarra was using YRY and BHA as his alter egos or instrumentalities to

unjustly shield his assets from his creditors. As alleged above, there is an abundance of

documentary proof that readily reveals Ybarra directly or indirectly owns and controls YRY and

BHA. Moreover, Ybarra has a long history of employing straw companies to shield his assets

and implement his hidden agendas.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       80.     In addition, as alleged above, BHA received the Apartments for less than $100

from another company (BHC) directly or indirectly owned and controlled by Ybarra. As a

result, Plaintiffs also reasonably suspected the Apartments were transferred to BHA with the

intent to hinder, delay, or defraud Ybarra’s creditors.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       81.     Given these facts and circumstances, Defendants do not have any valid claim

against Ybarra for malicious prosecution.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       WHEREFORE, Defendants, Ruben Ybarra, YRY Holdings, LLC and Boulder Hill

Apartments, LLC, pray that this Court dismiss the instant action against them; and for such

other and further relief as this Court deems just and proper.

                   Count II – Declaratory Judgment (No Abuse of Process)

       82.     Plaintiffs incorporate by reference Paragraphs 1 through 81 of their Complaint.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

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       83.     As alleged above, there is a substantial controversy between Plaintiffs and

Defendants regarding the issue of whether Plaintiffs committed an abuse of process in

connection with the Collection Lawsuits. Defendants assert the Motion for Judicial

Determination and certain related matters pursued by Plaintiffs in the Circuit Court were an

abuse of process, whereas Plaintiffs deny any such abuse of process ever occurred.

As alleged above, the parties have adverse legal interests in the resolution of the

controversy between them. Defendants are seeking to recover damages from Plaintiffs, whereas

Plaintiffs are seeking to avoid paying any damages to Defendants.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       84.     As alleged above, the controversy between Plaintiffs and Defendants is

sufficiently real and immediate to warrant the issuance of a declaratory judgment by this Court.

Defendants have served the Notice of Claim on Plaintiffs and repeatedly threatened to file a

lawsuit against Plaintiffs.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       85.     Under the Declaratory Judgment Act, this Court may resolve the controversy

between Plaintiffs and Defendants by declaring their rights and other legal relations with respect

to Defendants’ allegations of abuse of process.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

       86.     In this regard, Plaintiffs respectfully submit they did not commit any abuse of

process in the Collection Lawsuits.



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ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

         87.   Plaintiffs had no ulterior purpose or motive for pursuing the Motion for Judicial

Determination, seeking attachment of the Apartments, or attempting to collect the Judgments.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

         88.   Plaintiffs’ sole objective was the satisfaction of the Judgments by proper legal

means.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

         89.   Furthermore, Plaintiffs did not employ any legal process in the Collection

Lawsuits that was not proper in the regular prosecution of those proceedings.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

         90.   As a result, Defendants have no valid claim for abuse of process against

Plaintiffs.

ANSWER:        This Count was dismissed by the Court on December 16, 2021, and thus no

answer is required.

         WHEREFORE, Defendants, Ruben Ybarra, YRY Holdings, LLC and Boulder Hill

Apartments, LLC, pray that this Court dismiss the instant action against them; and for such

other and further relief as this Court deems just and proper.

                      Count III – Abuse of Process (Against Defendants)

         91.   Plaintiffs incorporate by reference Paragraphs 1 through 90 of their Complaint.



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ANSWER:          Defendants restate their answers to paragraph 1 through 90 of the

Complaint as their response to paragraph 91 of Count III of the Complaint as if fully

stated herein.

          92.    As alleged above, Defendants caused YRY and BHA’s counsel to serve

discovery requests on Plaintiffs in connection with the Collection Lawsuits.

ANSWER:          Defendants admit that YRY and BHA’s served discovery requests on

Centrust in connection with the Collection Lawsuits, Defendants deny the remaining

allegations in this paragraph.

          93.    Defendants pretended the discovery requests were served for the purpose of

developing evidence to defeat the Motion for Judicial Determination and prevent PTCV from

attaching the Apartments. However, Defendants’ true purpose and motive for serving the

discovery on Plaintiffs was to develop evidence for a subsequent lawsuit against Plaintiffs and

others.

ANSWER:          Defendants deny the allegations contained in this paragraph.

          94.    As alleged above, Defendants also conspired to perpetuate the post-judgment

proceedings in Case 50077 even though there was no legitimate adverse claim among PTCV,

YRY, and BHA regarding the Motion for Judicial Determination or Apartments.

ANSWER:          Defendants deny the allegations contained in this paragraph.

          95.    The post-judgment proceedings should have ended in August or September of

2020, after PTCV acquired the Judgements. At that time there was no longer jurisdiction over

the post-judgment proceedings because there was no longer a case or controversy between

adverse parties.

ANSWER:



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          96.   Defendants litigated the proceedings in the Circuit Court after PTCV acquired

the Judgments for the sole purpose of keeping those proceedings alive so they could pursue

unrelated discovery designed to develop evidence for subsequent litigation against Plaintiffs and

others.

ANSWER:         Defendants deny the allegations contained in this paragraph.

          97.   It was not proper for Defendants to serve abusive discovery on Plaintiffs in the

Collection Lawsuits for information that was unrelated to the claims pending in those cases, nor

was it proper for Defendants to prolong the post-judgment proceedings when there was no

legitimate controversy among them regarding the Motion for Judicial Determination or

Apartments.

ANSWER:         Defendants deny the allegations contained in this paragraph.

          98.   Plaintiffs have suffered significant damage because of Defendants’ abuse of

process in the Collection Lawsuits, including, without limitation, attorneys’ fees and costs

related to the Collection Lawsuits and above-referenced abusive discovery.

ANSWER:         Defendants deny the allegations contained in this paragraph.

          99.   Plaintiffs’ damages exceed $75,000.

ANSWER:

          WHEREFORE, Defendants, Ruben Ybarra, YRY Holdings, LLC and Boulder Hill

Apartments, LLC, pray that this Court dismiss the instant action against them; and for such

other and further relief as this Court deems just and proper.

                                      RUBEN YBARRA, YRY HOLDINGS, LLC AND
                                      BOULDER HILL APARTMENTS, LLC, Defendants


                                      By:      /s/ Ariel Weissberg
                                             One of their attorneys


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                              CERTIFICATE OF SERVICE

        I, Ariel Weissberg, certify that on January 28, 2022, I caused DEFENDANTS’
ANSWER TO COMPLAINT to be filed electronically. Notice of these filings was sent to all
parties registered with the court’s CM/ECF electronic transmission system, including to the
following parties:

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                                     /s/ Ariel Weissberg
                                      Ariel Weissberg




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